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          CHICAGO TITLE
          INSURANCE COMPANY
Policy No.: 4478-1-111.706750-2017.72307-212571283


                                              LOAN POLICY OF TITLE INSURANCE
                                                               Issued by
                                            CHICAGO TITLE INSURANCE COMPANY

Any notice of claim and any other notice or statement in writing required to be given to the Company under this
Policy must be given to the Company at the address shown in Section 17 of the Conditions.
                                                          COVERED RISKS
SUBJECT TO THE EXCLUSIONS FROM COVERAGE, THE EXCEPTIONS FROM COVERAGE CONTAINED IN SCHEDULE B, AND THE
CONDITIONS, CHICAGO TITLE INSURANCE COMPANY, a Florida corporation (the "Company") insures as of Date of Policy and, to
the extent stated in Covered Risks 11, 13, and 14, after Date of Policy, against loss or damage, not exceeding the Amount of
Insurance, sustained or incurred by the Insured by reason of:
    1. Title being vested other than as stated in Schedule A.
    2.  Any defect in or lien or encumbrance on the Title. This Covered Risk includes but is not limited to insurance against loss
        from
       (a) A defect in the Title caused by
            (i) forgery, fraud, undue influence, duress, incompetency, incapacity, or impersonation;
            (ii) failure of any person or Entity to have authorized a transfer or conveyance;
            (iii) a document affecting Title not properly created, executed, witnessed, sealed, acknowledged, notarized, or
                  delivered;
            (iv) failure to perform those acts necessary to create a document by electronic means authorized by law;
            (v) a document executed under a falsified, expired, or otherwise invalid power of attorney;
            (vi) a document not properly filed, recorded, or indexed in the Public Records including. failure to perform those acts
                  by electronic means authorized by law; or
            (vii)a defective judicial or administrative proceeding.
       (b) The lien of real estate taxes or assessments imposed on the Title by a governmental authority due or payable, but
            unpaid.
       (c) Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be
            disclosed by an accurate and complete land survey of the Land. The term "encroachment" includes encroachments
            of existing improvements located on the Land onto adjoining land, and encroachments onto the Land of existing
            imprOvements located on adjoining land.
    3. Unmarketable Title.
    4. No right of access to and from the Land.
    5. The violation or enforcement of any law, ordinance, permit, or governmental regulation (including those relating to
       building and zoning) restricting, regulating, prohibiting, or relating to
       (a) the occupancy, use, or enjoyment of the Land;
       (b) the character, dimensions, or location of any improvement erected on the Land;
       (c) the subdivision of land; or
       (d) environmental protection
       if a notice, describing any part of the Land, is recorded in the Public Records setting forth the violation or intention to
       enforce, but only to the extent of the violation or enforcement referred to in that notice.
    6. An enforcement action based on the exercise of a governmental police power not covered by Covered Risk 5 if a notice
       of the enforcement action, describing any part of the Land, is recorded in the Public Records, but only to the extent of
       the enforcement referred to in that notice.
    7. The exercise of the rights of eminent domain if a notice of the exercise, describing any part of the Land, is recorded in
       the Public Records.
    8. Any taking by a governmental body that has occurred and is binding on the rights of a purchaser for value without
       Knowledge.
    9. The invalidity or unenforceability of the lien of the Insured Mortgage upon the Title. This Covered Risk includes but is
       not limited to insurance against loss from any of the following impairing the lien of the Insured Mortgage
       (a) forgery, fraud, undue influence, duress, incompetency, incapacity, or impersonation;
       (b) failure of any person or Entity to have authorized a transfer or conveyance;
       (c) the Insured Mortgage not being properly created, executed, witnessed, sealed, acknowledged, notarized, or
            delivered;
       (d) failure to perform those acts necessary to create a document by electronic means authorized by law;


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            (e) a document executed under a falsified, expired, or otherwise invalid power of attorney;
            (f) a document not properly filed, recorded, or indexed in the Public Records including failure to perform those acts by
                electronic means authorized by law; or
            (g) a defective judicial or administrative proceeding.
      10.   The lack of priority of the lien of the Insured Mortgage upon the Title over any other lien or encumbrance.
      11.   The lack of priority of the lien of the Insured Mortgage upon the Title
            (a) as security for each and every advance of proceeds of the loan secured by the Insured Mortgage over any statutory
                lien for services, labor, or material arising from construction of an improvement or work related to the Land when
                the improvement or work is either
                (i) contracted for or commenced on or before Date of Policy; or
                (ii) contracted for, commenced or continued after Date of Policy if the construction is financed, in whole or in part,
                     by proceeds of the loan secured by the Insured Mortgage that the Insured has advanced or is obligated on Date
                     of Policy to advance; and
            (b) over the lien of any assessments for street improvements under construction or completed at Date of Policy.
      12.   The invalidity or unenforceability of any assignment of the Insured Mortgage, provided the assignment is shown in
            Schedule A, or the failure of the assignment shown in Schedule A to vest title to the Insured Mortgage in the named
            Insured assignee free and clear of all liens.
      13.   The invalidity, unenforceabilty, lack of priority, or avoidance of the lien of the Insured Mortgage upon the Title:
            (a) resulting from the avoidance in whole or in part, or from a court order providing an alternative remedy, of any
                transfer of all or any part of the title to or any interest in the Land occurring prior to the transaction creating the
                lien of the Insured Mortgage because that prior transfer a constituted fraudulent or preferential transfer under
                federal bankruptcy, state insolvency, or similar creditors' rights laws; or
            (b) because the Insured Mortgage constitutes a preferential transfer under federal bankruptcy, state insolvency, or
                similar creditors' rights laws by reason of the failure of its recording in the Public Records
                     (i)    to be timely, or
                     (ii) to impart notice of its existence to a purchaser for value or to a judgment or lien creditor.
      14.   Any defect in or lien or encumbrance on the Title or other matter included in Covered Risks 1 through 13 that has been
            created or attached or has been filed or recorded in the Public Records subsequent to Date of Policy and prior to the
            recording of the Insured Mortgage in the Public Records.
The Company will also pay the costs, attorneys' fees, and expenses incurred in defense of any matter insured against by this
Policy, but only to the extent provided in the Conditions.
IN WITNESS WHE EOF, CHICA 0   LE INSURANCE COMPANY has caused this policy to be signed and sealed by its duly
authorized office           r
                                                                         CHICAGO TITLE INSURANCE COMPANY
Countersi


By:
    orized Offic
Henry Marmol
                                                                              By:
                                                                                                                         -
Near Nort   ational Title, LLC
222 No    LaSalle St, Suite 10                                                                               President
                                                                                                              resident
Chicago,
Te1:312-419-3900
Fax:312-419-0569                                                              Attest:


                                                                                                            Secretary



                                                EXCLUSIONS FROM COVERAGE


The following matters are expressly excluded from the                            (ii) the character, dimensions, or location of any
coverage of this policy, and the Company will not pay loss                             improvement erected on the Land;
or damage, costs, attorneys' fees, or expenses that arise by                     (iii) the subdivision of land; or
reason of:                                                                       (iv) environmental protection;
1. (a) Any law, ordinance, permit, or governmental                               or the effect of any violation of these laws,
        regulation (including those relating to building and                     ordinances, or governmental regulations. This
        zoning) restricting, regulating, prohibiting, or                         Exclusion 1(a) does not modify or limit the
        relating to                                                              coverage provided under Covered Risk 5.
        (i)    the occupancy, use, or enjoyment of the                       (b) Any governmental police power. This Exclusion 1(b)
             Land;                                                               does not modify or limit the coverage provided

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         under Covered Risk 6.                                           4. Unenforceability of the lien of the Insured Mortgage
2.   Rights of eminent domain. This Exclusion does not                      because of the inability or failure of an Insured to
     modify or limit the coverage provided under Covered                    comply with applicable doing-business laws of the state
     Risk 7 or 8.                                                           where the Land is situated.
3.   Defects, liens, encumbrances, adverse claims, or other              5. Invalidity or unenforceability in whole or in part of the
     matters                                                                lien of the Insured Mortgage that arises out of the
     (a) created, suffered, assumed, or agreed to by the                    transaction evidenced by the Insured Mortgage and is
         Insured Claimant;                                                  based upon usury or any consumer credit protection or
     (b) not Known to the Company, not recorded in the                      truth-in-lending law.
         Public Records at Date of Policy, but Known to the              6. Any claim, by reason of the operation of federal
         Insured Claimant and not disclosed in writing to the               bankruptcy, state insolvency, or similar creditors' rights
         Company by the Insured Claimant prior to the date                  laws, that the transaction creating the lien of the
         the Insured Claimant became an Insured under this                  Insured Mortgage, is
         policy;                                                            (a) a fraudulent conveyance or fraudulent transfer, or
     (c) resulting in no loss or damage to the Insured                      (b) a preferential transfer for any reason not stated in
         Claimant;                                                              Covered Risk 13(b) of this policy.
     (d) attaching or created subsequent to Date of Policy               7. Any lien on the Title for real estate taxes or
         (however, this does not modify or limit the                        assessments imposed by governmental authority and
         coverage provided under Covered Risk 11, 13, or                    created or attaching between Date of Policy and the
         14); or                                                            date of recording of the Insured Mortgage in the Public
     (e) resulting in loss or damage that would not have                    Records. This Exclusion does not modify or limit the
         been sustained if the Insured Claimant had paid                    coverage provided under Covered Risk 11(b).
         value for the Insured Mortgage.


                                                           CONDITIONS


1. DEFINITION OF TERMS                                                    (e)"Insured": The Insured named in Schedule A.
    The following terms when used in this policy mean:                        (i) The term "Insured" also includes
    (a)"Amount of Insurance": The amount stated in Schedule                        (A) the owner of the Indebtedness and each
A, as may be increased or decreased by endorsement to this             successor in ownership of the Indebtedness, whether the
policy, increased by Section 8(b) or decreased by Section 10           owner or successor owns the Indebtedness for its own account
of these Conditions.                                                   or as a trustee or other fiduciary, except a successor who is an
    (b)"Date of Policy": The date designated as "Date of Policy"      obligor under the provisions of Section 12(c) of these
in Schedule A.                                                        Conditions;
    (c)"Entity": A corporation, partnership, trust, limited                        (B)   the person or Entity who has "control" of the
liability company, or other similar legal entity.                     "transferable record," if the Indebtedness is evidenced by a
    (d)"Indebtedness": The obligation secured by the Insured          "transferable record," as these terms are defined by applicable
Mortgage including one evidenced by electronic means                  electronic transactions law;
authorized by law, and that obligation is the payment of a                         (C) successors to an Insured by dissolution,
debt, the Indebtedness is the sum of                                  merger, consolidation, distribution, or reorganization;
        (i)     the amount of the principal disbursed as of Date                   (D) successors to an Insured by its conversion to
    of Policy;                                                        another kind of Entity;
        (ii) the amount of the principal disbursed subsequent to                   (E)a grantee of an Insured under a deed delivered
Date of Policy;                                                       without payment of actual valuable consideration conveying
        (iii) the construction loan advances made subsequent to       the Title
Date of Policy for the purpose of financing in whole or in part                       (1) if the stock, shares, memberships, or other
the construction of an improvement to the Land or related to          equity interests of the grantee are wholly-owned by the
the Land that the Insured was and continued to be obligated           named Insured,
to advance at Date of Policy and at the date of the advance;                          (2) if the grantee wholly owns the named
       (iv) interest on the loan;                                     Insured, or
        (v) the prepayment premiums, exit fees, and other                             (3) if the grantee is wholly-owned by an
     similar fees or penalties allowed by law;                        affiliated Entity of the named Insured, provided the affiliated
        (vi) the expenses of foreclosure and any other costs of       Entity and the named Insured are both wholly-owned by the
enforcement;                                                          same person or Entity;
        (vii) the amounts advanced to assure compliance with                       (F) any government agency or instrumentality that
laws or to protect the lien or the priority of the lien of the        is an insurer or guarantor under an insurance contract or
Insured Mortgage before the acquisition of the estate or              guaranty insuring or guaranteeing the Indebtedness secured
interest in the Title;                                                by the Insured Mortgage, or any part of it, whether named as
        (viii) the amounts to pay taxes and insurance; and            an Insured or not;
        (ix) the reasonable amounts expended to prevent                       (ii) With regard to (A), (B), (C), (D), and (E) reserving,
deterioration of improvements;                                        however, all rights and defenses as to any successor that the
        but the Indebtedness is reduced by the total of all           Company would have had against any predecessor Insured,
payments and by any amount forgiven by an Insured.                    unless the successor acquired the Indebtedness as a


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 purchaser for value without Knowledge of the asserted defect,         require as a condition of payment that the Insured Claimant
 lien, encumbrance, or other matter insured against by this            furnish a signed proof of loss. The proof of loss must describe
 policy.                                                               the defect, lien, encumbrance, or other matter insured against
     (f)    "Insured Claimant": An Insured claiming loss or            by this policy that constitutes the basis of loss or damage and
     damage.                                                           shall state, to the extent possible, the basis of calculating the
     (g)"Insured Mortgage": The Mortgage described in                  amount of the loss or damage.
 paragraph 4 of Schedule A.                                            5. DEFENSE AND PROSECUTION OF ACTIONS
     (h)"Knowledge" or "Known": Actual knowledge, not                      (a)Upon written request by the Insured, and subject to the
 constructive knowledge or notice that may be imputed to an            options contained in Section 7 of these Conditions, the
Insured by reason of the Public Records or any other records           Company, at its own cost and without unreasonable delay,
that impart constructive notice of matters affecting the Title.        shall provide for the defense of an Insured in litigation in
     (i) "Land": The land described in Schedule A, and affixed         which any third party asserts a claim covered by this policy
improvements that by law constitute real property. The term            adverse to the Insured. This obligation is limited to only those
 "Land" does not include any property beyond the lines of the          stated causes of action alleging matters insured against by
area described in Schedule A, nor any right, title, interest,          this policy. The Company shall have the right to select counsel
estate, or easement in abutting streets, roads, avenues,              of its choice (subject to the right of the Insured to object for
alleys, lanes, ways or waterways, but this does not modify or          reasonable cause) to represent the Insured as to those stated
limit the extent that a right of access to and from the Land is        causes of action. It shall not be liable for and will not pay the
insured by this policy.                                                fees of any other counsel. The Company will not pay any fees,
     (j) "Mortgage": Mortgage, deed of trust, trust deed, or           costs, or expenses incurred by the Insured in the defense of
 other security instrument, including one evidenced by                 those causes of action that allege matters not insured against
electronic means authorized by law.                                    by this policy.
     (k) "Public Records": Records established under state                 (b)The Company shall have the right, in addition to the
statutes at Date of Policy for the purpose of imparting                options contained in Section 7 of these Conditions, at its own
constructive notice of matters relating to real property to            cost, to institute and prosecute any action or proceeding or to
purchasers for value and without Knowledge. With respect to            do any other act that in its opinion may be necessary or
Covered Risk 5(d), "Public Records" shall also include                 desirable to establish the Title or the lien of the Insured
environmental protection liens filed in the records of the clerk       Mortgage, as insured, or to prevent or reduce loss or damage
of the United States District Court for the district where the        to the Insured. The Company may take any appropriate action
Land is located.                                                      under the terms of this policy, whether or not it shall be liable
     (I) "Title": The estate or interest described in Schedule A.     to the Insured. The exercise of these rights shall not be an
     (m) "Unmarketable Title": Title affected by an alleged or        admission of liability or waiver of any provision of this policy.
apparent matter that would permit a prospective purchaser or          If the Company exercises its rights under this subsection, it
lessee of the Title or lender on the Title or a prospective           must do so diligently.
purchaser of the Insured Mortgage to be released from the                  (c)Whenever the Company brings an action or asserts a
obligation to purchase, lease, or lend if there is a contractual       defense as required or permitted by this policy, the Company
condition requiring the delivery of marketable title.                 may pursue the litigation to a final determination by a court of
2.       CONTINUATION OF INSURANCE                                    competent jurisdiction, and it expressly reserves the right, in
     The coverage of this policy shall continue in force as of        its sole discretion, to appeal from any adverse judgment or
Date of Policy in favor of an Insured after acquisition of the        order.
Title by an Insured or after conveyance by an Insured, but            6.      DUTY OF INSURED CLAIMANT TO COOPERATE
only so long as the Insured retains an estate or interest in the          (a)In all cases where this policy permits or requires the
Land, or holds an obligation secured by a purchase money              Company to prosecute or provide for the defense of any action
Mortgage given by a purchaser from the Insured, or only so            or proceeding and any appeals, the Insured shall secure to the
long as the Insured shall have liability by reason of warranties      Company the right to so prosecute or provide defense in the
in any transfer or conveyance of the Title. This policy shall not     action or proceeding, including the right to use, at its option,
continue in force in favor of any purchaser from the Insured of       the name of the Insured for this purpose. Whenever requested
either (i) an estate or interest in the Land, or (ii) an obligation   by the Company, the Insured, at the Company's expense,
secured by a purchase money Mortgage given to the Insured.            shall give the Company all reasonable aid (i) in securing
3. NOTICE OF CLAIM TO BE GIVEN BY INSURED                             evidence, obtaining witnesses, prosecuting or defending the
CLAIMANT                                                              action or proceeding, or effecting settlement, and (ii) in any
    The Insured shall notify the Company promptly in writing          other lawful act that in the opinion of the Company may be
(i) in case of any litigation as set forth in Section 5(a) of these   necessary or desirable to establish the Title, the lien of the
Conditions, (ii) in case Knowledge shall come to an Insured of        Insured Mortgage, or any other matter as insured. If the
any claim of title or interest that is adverse to the Title or the    Company is prejudiced by the failure of the Insured to furnish
lien of the Insured Mortgage, as insured, and that might cause        the required cooperation, the Company's obligations to the
loss or damage for which the Company may be liable by virtue          Insured under the policy shall terminate, including any liability
of this policy, or (iii) if the Title or the lien of the Insured      or obligation to defend, prosecute, or continue any litigation,
Mortgage, as insured, is rejected as Unmarketable Title. If the       with regard to the matter or matters requiring such
Company is prejudiced by the failure of the Insured Claimant          cooperation.
to provide prompt notice, the Company's liability to the                  (b)The Company may reasonably require the Insured
Insured Claimant under the policy shall be reduced to the             Claimant to submit to examination under oath by any
extent of the prejudice.                                              authorized representative of the Company and to produce for
4. PROOF OF LOSS                                                      examination, inspection, and copying, at such reasonable
    In the event the Company is unable to determine the               times and places as may be designated by the authorized
amount of loss or damage, the Company may, at its option,             representative of the Company, all records, in whatever

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 medium maintained, including books, ledgers, checks,                  defend, prosecute, or continue any litigation.
 memoranda, correspondence, reports, e-mails, disks, tapes,            8. DETERMINATION AND EXTENT OF LIABILITY
 and videos whether bearing a date before or after Date of                This policy is a contract of indemnity against actual
 Policy, that reasonably pertain to the loss or damage. Further,       monetary loss or damage sustained or incurred by the Insured
 if requested by any authorized representative of the Company,         Claimant who has suffered loss or damage by reason of
 the Insured Claimant shall grant its permission, in writing, for      matters insured against by this policy.
 any authorized representative of the Company to examine,                  (a)The extent of liability of the Company for loss or
 inspect, and copy all of these records in the custody or control      damage under this policy shall not exceed the least of
 of a third party that reasonably pertain to the loss or damage.              (i) the Amount of Insurance,
 All information designated as confidential by the Insured                    (ii) the Indebtedness,
 Claimant provided to the Company pursuant to this Section                    (iii) the difference between the value of the Title as
 shall not be disclosed to others unless, in the reasonable            insured and the value of the Title subject to the risk insured
 judgment of the Company, it is necessary in the                      against by this policy, or
 administration of the claim. Failure of the Insured Claimant to              (iv) if a government agency or instrumentality is the
 submit for examination under oath, produce any reasonably            Insured Claimant, the amount it paid in the acquisition of the
 requested information, or grant permission to secure                 Title or the Insured Mortgage in satisfaction of its insurance
 reasonably necessary information from third parties as               contract or guaranty.
 required in this subsection, unless prohibited by law or                 (b)If the Company pursues its rights under Section 5 of
 governmental regulation, shall terminate any liability of the         these Conditions and is unsuccessful in establishing the Title
 Company under this policy as to that claim.                          or the lien of the Insured Mortgage, as insured,
 7.      OPTIONS TO PAY OR OTHERWISE SETTLE CLAIMS;                           (i)     the Amount of Insurance shall be increased by
 TERMINATION OF LIABILITY                                             10%, and
     In case of a claim under this policy, the Company shall                  (ii) the Insured Claimant shall have the right to have
 have the following additional options:                               the loss or damage determined either as of the date the claim
      (a)To Pay or Tender Payment of the Amount of Insurance          was made by the Insured Claimant or as of the date it is
 or to Purchase the Indebtedness.                                     settled and paid.
         (i)    To pay or tender payment of the Amount of                 (c) In the event the Insured has acquired the Title in the
     Insurance under this policy together with any costs,             manner described in Section 2 of these Conditions or has
      attorneys' fees, and expenses incurred by the Insured           conveyed the Title, then the extent of liability of the Company
      Claimant that were authorized by the Company up to the          shall continue as set forth in Section 8(a) of these Conditions.
      time of payment or tender of payment and that the                   (d)In addition to the extent of liability under (a), (b), and
      Company is obligated to pay; or                                 (c), the Company will also pay those costs, attorneys' fees,
         (ii) To purchase the Indebtedness for the amount of the      and expenses incurred in accordance with Sections 5 and 7 of
Indebtedness on the date of purchase, together with any               these Conditions.
 costs, attorneys' fees, and expenses incurred by the Insured         9.      LIMITATION OF LIABILITY
Claimant that were authorized by the Company up to the time               (a)If the Company establishes the Title, or removes the
of purchase and that the Company is obligated to pay.                 alleged defect, lien or encumbrance, or cures the lack of a
        When the Company purchases the Indebtedness, the              right of access to or from the Land, or cures the claim of
Insured shall transfer, assign, and convey to the Company the         Unmarketable Title, or establishes the lien of the Insured
Indebtedness and the Insured Mortgage, together with any              Mortgage, all as insured, in a reasonably diligent manner by
collateral security.                                                  any method, including litigation and the completion of any
       Upon the exercise by the Company of either of the options      appeals, it shall have fully performed its obligations with
provided for in subsections (a)(i) or (ii), all liability and         respect to that matter and shall not be liable for any loss or
obligations of the Company to the Insured under this policy,          damage caused to the Insured.
other than to make the payment required in those                          (b)In the event of any litigation, including litigation by the
subsections, shall terminate, including any liability or              Company or with the Company's consent, the Company shall
obligation to defend, prosecute, or continue any litigation.          have no liability for loss or damage until there has been a final
     (b) To Pay or Otherwise Settle With Parties Other Than           determination by a court of competent jurisdiction, and
the Insured or With the Insured Claimant.                             disposition of all appeals, adverse to the Title or to the lien of
          (i) to pay or otherwise settle with other parties for or    the Insured Mortgage, as insured.
in the name of an Insured Claimant any claim insured against              (c)The Company shall not be liable for loss or damage to
under this policy. In addition, the Company will pay any costs,       the Insured for liability voluntarily assumed by the Insured in
attorneys' fees, and expenses incurred by the Insured                 settling any claim or suit without the prior written consent of
Claimant that were authorized by the Company up to the time           the Company.
of payment and that the Company is obligated to pay; or               10. REDUCTION OF INSURANCE; REDUCTION OR
         (ii) to pay or otherwise settle with the Insured Claimant    TERMINATION OF LIABILITY
the loss or damage provided for under this policy, together               (a)All payments under this policy, except payments made
with any costs, attorneys' fees, and expenses incurred by the         for costs, attorneys' fees, and expenses, shall reduce the
Insured Claimant that were authorized by the Company up to            Amount of Insurance by the amount of the payment.
the time of payment and that the Company is obligated to              However, any payments made prior to the acquisition of Title
pay.                                                                  as provided in Section 2 of these Conditions shall not reduce
       Upon the exercise by the Company of either of the options      the Amount of,Insurance afforded under this policy except to
provided for in subsections (b)(i) or (ii), the Company's             the extent that the payments reduce the Indebtedness.
obligations to the Insured under this policy for the claimed              (b)The voluntary satisfaction or release of the Insured
loss or damage, other than the payments required to be                Mortgage shall terminate all liability of the Company except as
made, shall terminate, including any liability or obligation to       provided in Section 2 of these Conditions.

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 11. PAYMENT OF LOSS                                                   connection with its issuance or the breach of a policy
     When liability and the extent of loss or damage have been         provision, or to any other controversy or claim arising out of
 definitely fixed in accordance with these Conditions, the             the transaction giving rise to this policy. All arbitrable matters
 payment shall be made within 30 days.                                 when the Amount of Insurance is 2,000,000 or less shall be
 12. RIGHTS OF RECOVERY UPON PAYMENT OR                                arbitrated at the option of either the Company or the Insured.
 SETTLEMENT                                                           All arbitrable matters when the Amount of Insurance is in
    (a)The Company's Right to Recover                                 excess of $2,000,000 shall be arbitrated only when agreed to
 Whenever the Company shall have settled and paid a claim              by both the Company and the Insured. Arbitration pursuant to
 under this policy, it shall be subrogated and entitled to the        this policy and under the Rules shall be binding upon the
 rights of the Insured Claimant in the Title or Insured Mortgage       parties. Judgment upon the award rendered by the
 and all other rights and remedies in respect to the claim that       Arbitrator(s) may be entered in any court of competent
 the Insured Claimant has against any person or property, to          jurisdiction.
 the extent of the amount of any loss, costs, attorneys' fees,        14. LIABILITY LIMITED TO THIS POLICY; POLICY
 and expenses paid by the Company. If requested by the                ENTIRE CONTRACT
 Company, the Insured Claimant shall execute documents to                  (a)This policy together with all endorsements, if any,
 evidence the transfer to the Company of these rights and             attached to it by the Company is the entire policy and contract
 remedies. The Insured Claimant shall permit the Company to           between the Insured and the Company. In interpreting any
sue, compromise, or settle in the name of the Insured                 provision of this policy, this policy shall be construed as a
Claimant and to use the name of the Insured Claimant in any            whole.
transaction or litigation involving these rights and remedies.             (b)Any claim of loss or damage that arises out of the status
If a payment on account of a claim does not fully cover the           of the Title or lien of the Insured Mortgage or by any action
loss of the Insured Claimant, the Company shall defer the             asserting such claim shall be restricted to this policy.
exercise of its right to recover until after the Insured Claimant          (c)Any amendment of or endorsement to this policy must
shall have recovered its loss.                                        be in writing and authenticated by an authorized person, or
    (b)The Insured's Rights and Limitations                           expressly incorporated by Schedule A of this policy.
        (i)      The owner of the Indebtedness may release or              (d)Each endorsement to this policy issued at any time is
    substitute the personal liability of any debtor or guarantor,     made a part of this policy and is subject to all of its terms and
    extend or otherwise modify the terms of payment, release          provisions. Except as the endorsement expressly states, it
    a portion of the Title from the lien of the Insured Mortgage,     does not (i) modify any of the terms and provisions of the
    or release any collateral security for the Indebtedness, if it    policy, (ii) modify any prior endorsement, (iii) extend the Date
    does not affect the enforceability or priority of the lien of     of Policy, or (iv) increase the Amount of Insurance.
    the Insured Mortgage.                                             15.       SEVERABILITY
        (ii) If the Insured exercises a right provided in (b)(i),         In the event any provision of this policy, in whole or in
but has Knowledge of any claim adverse to the Title or the lien       part, is held invalid or unenforceable under applicable law, the
of the Insured Mortgage insured against by this policy, the           policy shall be deemed not to include that provision or such
Company shall be required to pay only that part of any losses         part held to be invalid, but all other provisions shall remain in
insured against by this policy that shall exceed the amount, if       full force and effect.
any, lost to the Company by reason of the impairment by the           16.       CHOICE OF LAW; FORUM
Insured Claimant of the Company's right of subrogation.                    (a)Choice of Law: The Insured acknowledges the Company
    (c)The Company's Rights Against Noninsured Obligors               has underwritten the risks covered by this policy and
    The Company's right of subrogation includes the Insured's         determined the premium charged therefor in reliance upon the
rights against non-insured obligors including the rights of the       law affecting interests in real property and applicable to the
Insured to indemnities, guaranties, other policies of insurance,      interpretation, rights, remedies, or enforcement of policies of
or bonds, notwithstanding any terms or conditions contained           title insurance of the jurisdiction where the Land is located.
in those instruments that address subrogation rights.                       Therefore, the court or an arbitrator shall apply the law of
    The Company's right of subrogation shall not be avoided by        the jurisdiction where the Land is located to determine the
acquisition of the Insured Mortgage by an obligor (except an          validity of claims against the Title or the lien of the Insured
obligor described in Section 1(e)(i)(F) of these Conditions)          Mortgage that are adverse to the Insured and to interpret and
who acquires the Insured Mortgage as a result of an                   enforce the terms of this policy. In neither case shall the court
indemnity, guarantee, other policy of insurance, or bond, and         or arbitrator apply its conflicts of law principles to determine
the obligor will not be an Insured under this policy.                 the applicable law.
13. ARBITRATION                                                             (b) Choice of Forum: Any litigation or other proceeding
    Either the Company or the Insured may demand that the             brought by the Insured against the Company must be filed
claim or controversy shall be submitted to arbitration pursuant       only in a state or federal court within the United States of
to the Title Insurance Arbitration Rules of the American Land         America or its territories having appropriate jurisdiction.
Title Association ("Rules"). Except as provided in the Rules,         17. NOTICES, WHERE SENT
there shall be no joinder or consolidation with claims or                 Any notice of claim and any other notice or statement in
controversies of other persons.                                       writing required to be given to the Company under this policy
    Arbitrable matters may include, but are not limited to, any       must be given to the Company at CHICAGO TITLE INSURANCE
controversy or claim between the Company and the Insured              COMPANY, Attn:          Claims Department, P.O. Box 45023,
arising out of or relating to this policy, any service in             Jacksonville,                    FL                    32232-5023.




72307                             ALTA Loan Policy 06/17/06_307
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                                                                                                                                BC570009611
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                                   NEAR NORTH NATIONAL TITLE LLC
                                    222 NORTH LASALLE STREET, SUITE 100
                                             CHICAGO, IL 60601

                          ISSUING AGENT FOR CHICAGO TITLE INSURANCE COMPANY

                                               LENDER'S FORM

                                                  SCHEDULE A

Number:              IL1706750

Property:            7201 S. Constance Ave., Chicago, IL 60649
                     7625-33 S. East End Ave., Chicago, IL 60649
                     7635-7643 S. East End Ave., Chicago, IL 60649
                     7750-7752 S. Muskegon Ave., Chicago, IL 60649
                     7836 S. South Shore Dr., Chicago, IL 60649

Underwriter No.: 72307-212571283

Date of Policy:      September 29, 2017

Amount of Insurance: $5,328,433.43

1. Name of Insured:

    BC57, LLC, a Michigan limited liability company, its successors and/or assigns, as their interests may
    appear

2. The estate or interest in the Land that is encumbered by the Insured Mortgage is:

    Fee Simple

3. Title is vested in:

    SSDF5 Portfolio 1 LLC, an Illinois limited liability company

4. The Insured Mortgage, and its assignments, if any, are described as follows:

    Mortgage, Assignment of Leases and Rents, Security Agreement and Fixture Filing dated September
    29, 2017 and recorded September 29, 2017 as document number 1727219056 and Corrective Mortgage,
    Assignment of Leases and Rents, Security Agreement and Fixture Filing recorded October 4, 2017 as
    document number 1727715135 and made by SSDF5 Portfolio 1 LLC, an Illinois limited liability
    company to BC57, LLC, a Michigan limited liability company, to secure a note in the amount of
    $5,328,433.43.

5. The Land referred to in this policy is described as follows:

    SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF




                                  This policy valid only if Schedule B is attached.

Loan Policy — NNNT                                   Page 1 of 5                                  IL1706750




                                                                                                         BC570009612
     Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 8 of 41 PageID #:54730




                                   NEAR NORTH NATIONAL TITLE LLC

                         ISSUING AGENT FOR CHICAGO TITLE INSURANCE COMPANY

                                               LENDER'S FORM

                                                  SCHEDULE B
No.: IL1706750

This policy does not insure against loss or damage by reason of the following:

1.       General real estate taxes for the year 2017. Tax number: 20-25-119-001-0000. (Affects Parcel 1)

         Note: Taxes for the year 2017 are not yet due and payable.

2.       General real estate taxes for the year 2017. Tax number: 20-25-310-008-0000 and 20-25-310-009-0000.
         (Affects Parcels 2 and 3)

         Note: Taxes for the year 2017 are not yet due and payable.

3.       General real estate taxes for the year 2017. Tax number: 21-30-400-034-0000. (Affects Parcel 4)

         Note: Taxes for the year 2017 are not yet due and payable.

4.       General real estate taxes for the year 2017. Tax number: 21-30-414-040-0000. (Affects Parcel 5)

         Note: Taxes for the year 2017 are not yet due and payable.

5.       Proceedings pending in the Circuit Court of Cook County, Case Number 2016-M1-403679, on a complaint
         filed December 6, 2016 by City of Chicago and against EquityBuild LLC, et al, for Building Violation.

         Note: A Lis Pendens of said proceedings was recorded December 15, 2016 as document 1635041069.

         (Affects Parcel 4)


6.       Proceedings pending in the Circuit Court of Cook County, Case Number 2016-M1-4000863, on a
         complaint filed February 25, 2016 by City of Chicago and against 7836 S. Shore Drive, et al, for Building
         Violation.

         Note: A Lis Pendens of said proceedings was recorded December 15, 2016 as document 1637541190.

         (Affects Parcel 5)


7        Encroachment of the building onto the public way by approximately 0.03 to 0.04 feet north as disclosed by
         plat of survey Number 15-07-014 made by Landmark Engineering LLC dated July 15, 2015.

         (Affects Parcel 1)



8.       Encroachment of the south tip of satellite dish located mainly on the land onto the property south and
         adjoining by approximately 1.6 and of the fence located onto the property west and adjoining by an
         undisclosed amount, as shown on plat of Survey Number 15-07-014 prepared by Landmark Engineering

Loan Policy — NNNT                                   Page 2 of 5                                            IL1706750




                                                                                                                     BC570009613
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                                                 SCHEDULE B
                                                    (continued)

         LLC dated July 15, 2015.

         (Affects Parcel 1)


9.       Easement on and over the east 8 feet of the land for ingress and egress, created by Agreement from
         Martin McHugh to R. J. Manly recorded March 7, 1923 as document 7830708, for the benefit of owners of
         property south and adjoining.

         (Affects Parcel 1)



10.     A 20 foot building line from the street line as shown on the Plat Of Stinson's Subdivision of the East Grand
        Crossing aforesaid.

         (Affects Parcels 2 and 3)




11.     Violation of the 20-foot building line noted herein at exception reference Number 5 by various
        measurements 3.48 feet; 3.50 feet; 7.20 feet and 7.25 feet, as shown on survey by Preferred Survey
        Dated October 29, 2015 No. 2015-10-85.

        (Affects Parcel 2)




12.     Violation of the 20-foot building line noted herein at exception reference Number 5 by various
        measurements 3.16 feet; 3 feet and 7.13 feet, as shown on Survey by Preferred Survey Dated October
        29, 2015 No. 2015-10-84.

        (Affects Parcel 3)


13.     Rights of residential tenants under existing unrecorded leases and of all parties claiming by, through or
        under them with no right of first refusal or option to purchase.

        If any document referenced herein contains a covenant, condition or restriction which is in violation of
        42USC 3604(c), such covenant, condition or restriction, to the extent of such violation, is hereby deleted.




Loan Policy — NNNT                                   Page 3 of 5                                            IL1706750




                                                                                                                      BC570009614
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                                 NEAR NORTH NATIONAL TITLE LLC

                       ISSUING AGENT FOR CHICAGO TITLE INSURANCE COMPANY

                                             LENDER'S FORM

                                          SCHEDULE B - PART II

In addition to the matters set forth in Part I of this Schedule B, the title to the estate or interest in the Land
described or referred to in Schedule A is subject to the following matters, if any be shOwn, but the Company
insures that such matters are subordinate to the lien or charge of the Insured Mortgage upon said estate or
interest:

1.       Assignment of Leases and Rents dated September 27, 2017 and recorded September 29, 2017 as
         document 1727219057 and Corrective Assignment of Leases and Rents recorded October 4, 2017 as
         document number 1727715136 made by SSDF5 Portfolio 1 LLC to BC57 LLC.

2.       UCC Financing Statement recorded September 29, 2017 as document 1727219058 disclosing BC57 LLC
         to be the secured party and SSDF5 Portfolio 1 LLC as debtor.


ISSUING AGENT FOR CHICAGO TITLE INSURANCE COMPANY




BY:
         AUTHORIZED SIGNATORY

NNNT, LLC
222 North LaSalle Street, Suite 100
Chicago, IL 60601

(312)419-3900
(312)419-0778 FAX




Loan Policy — NNNT                                  Page 4 of 5                                          IL1706750




                                                                                                                BC570009615
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 11 of 41 PageID #:54733




                                                  EXHIBIT "A"


Parcel 1:

Lots 13 and 14 (except south 6 inches thereof) in Christopher Columbus Addition To Jackson Park, a subdivision
of the East 1/2 of the Northwest 1/4 of Section 25, Township 38 North, Range 14, East of the Third Principal
Meridian, in Cook County, Illinois.

Parcel 2:

The North 6.00 feet of Lot 36, and all of Lots 37, 38, 39 and 40 in Block 11 in
James Stinson's Subdivision of East Grand Crossing in the Southwest quarter of Section 25, Township 38 North,
Range 14, East of the Third Principal Meridian, in Cook County, Illinois.

Parcel 3:

The North 14 feet of Lot 32 and all of Lots 33, 34, 35 and 36 (except the north 6 feet thereof) Block 11 in James
Stinson's Subdivision of East Grand Crossing in the Southwest 1/4 of Section 25, Township 38 North, Range 14,
East of the Third Principal Meridian, in Cook County, Illinois.

Parcel 4:

Lot 132 in Division 2 in Westall Subdivision of 208 acres being the East 1/2 of the Southwest 1/4 and the
Southeast fractional 1/4 of Section 30 Township 38 North Range 15, East of the Third Principal Meridian in Cook
County, Illinois.

Parcel 5:

The. Easterly 120 feet of Lot 114, in Division One of Westfalls Subdivision of 208 acres, being the East Half of the
Southwest Quarter and the Southeast fractional Quarter of Section 30, Township 38 North, Range 15 East of the
Third Principal Meridian, in Cook County, Illinois.




Loan Policy — NNNT                                   Page 5 of 5                                            IL1706750




                                                                                                                    BC570009616
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                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                           Underwriter Policy No. 72307-212571283

        ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 1)
1.        The Company insures against loss or damage sustained by the Insured in the event that, at Date of Policy,

          a.       according to applicable zoning ordinances and amendments, the Land is not classified Zone
                   RT-4;

          b.       the following use or uses are not allowed under that classification:
                   Multi-Unit Residential

          c.       there shall be no liability under paragraph 1.b. if the use or uses are not allowed as the result of
                   any lack of compliance with any conditions, restrictions, or requirements contained in the zoning
                   ordinances and amendments, including but not limited to the failure to secure necessary consents
                   or authorizations as a prerequisite to the use or uses. This paragraph 1.c. does not modify or limit
                   the coverage provided in Covered Risk 5.

2.       The Company further insures against loss or damage sustained by the Insured by reason of a final decree
         of a court of competent jurisdiction either prohibiting the use of the Land, with any existing structure, as
         specified in paragraph 1.b. or requiring the removal or alteration of the structure, because, at Date of
         Policy, the zoning ordinances and amendments have been violated with respect to any of the following
         matters:

          a.       Area, width, or depth of the Land as a building site for the structure

          b.       Floor space area of the structure

          c.       Setback of the structure from the property lines of the Land

         d.        Height of the structure, or

         e.        Number of parking spaces.

3.       There shall be no liability under this endorsement based on:

         a.        the invalidity of the zoning ordinances and amendments until after a final decree of a court of
                   competent jurisdiction adjudicating the invalidity, the effect of which is to prohibit the use or uses;

         b.        the refusal of any person to purchase, lease or lend money on the Title covered by this policy.



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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 1) (06/17/2006)                                        IL1706750




                                                                                                                                 BC570009617
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                                                        ENDORSEMENT
                                           Underwriter Policy No. 72307-212571283
       ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 1)
                                                            (Page 2 of 2)

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 1) (06/17/2006)                                       IL1706750




                                                                                                                              BC570009618
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                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                           Underwriter Policy No. 72307-212571283

                                 ALTA ENDORSEMENT 12-06 (AGGREGATION)


1. The following policies are issued in conjunction with one another:
 POLICY NUMBER:                 STATE:                    AMOUNT OF
                                                          INSURANCE:
72307-212571283             Illinois                           $5,328,433.43
1401-08983000               Illinois                           $2,776,576.95



2. The amount of insurance available to cover the Company's liability for loss or damage under this policy at the time of
payment of loss shall be the Aggregate Amount of Insurance defined in Section 3 of this endorsement.
3. Subject to the limits in Section 4 of this endorsement, the Aggregate Amount of Insurance under these policies is
$5,328,43343.
4. Section 7(a)(i) of the Conditions of this policy is amended to read:
7. OPTIONS TO PAY OR OTHERWISE SETTLE CLAIMS; TERMINATION OF LIABILITY
In case of a claim under this policy, the Company shall have the following additional options:
(a) to pay or tender payment of the lesser of the value of the Title as insured or the Aggregate Amount of Insurance
applicable under this policy at the date the claim was made by the Insured Claimant, or to purchase the Indebtedness.
(i) to pay or tender payment of the lesser of the value of the Title as insured at the date the claim was made by the Insured
Claimant, or the Aggregate Amount of Insurance applicable under this policy together with any cost, attorneys' fees, and
costs and expenses incurred by the Insured Claimant that were authorized by the Company up to the time of payment or
tender of payment and that the Company is obligated to pay; or
5. Section 8(a) and 8(b) of the Conditions of this policy are amended to read:

8. DETERMINATION AND EXTENT OF LIABILITY
This policy is a contract of indemnity against actual monetary loss or damage sustained or incurred by the Insured Claimant
who has suffered loss or damage by reason of matters insured against by this policy.
(a) The extent of liability of the Company for loss or damage under this policy shall not exceed the least of (i) the Aggregate
Amount of Insurance,
(ii) the Indebtedness,
(iii) the difference between the value of the Title as insured and the value of the Title subject to the risk insured against by
this policy, or
(iv) if a government agency or instrumentality is the Insured Claimant, the amount it paid in the acquisition of the Title or
the Insured Mortgage in satisfaction of its insurance contract or guaranty.




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ALTA Endorsement 12-06 (Aggregation) (06/17/2006)                                                                     IL1706750




                                                                                                                                  BC570009619
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                                                       ENDORSEMENT
                            Underwriter Policy No. ALTA 2006 PROFORMA LOAN POLICY
                                ALTA ENDORSEMENT 12-06 (AGGREGATION)
                                                            (Page 2 of 2)

(b) If the Company pursues its rights under Section 5 of these Conditions and is unsuccessful in establishing the Title or the
lien of the Insured Mortgage, as insured, the Insured Claimant shall have the right to have the loss or damage determined
either as of the date the claim was made by the Insured Claimant or as the date it is settled and paid.
6. Section 10 of the Conditions of this policy is amended to read:

10. REDUCTION OF INSURANCE; REDUCTION OR TERMINATION OF LIABILITY
(a) All payments under this policy, except payments made for costs, attorneys' fees, and expenses, shall reduce the
Aggregate Amount of Insurance by the amount of the payment.
(b) However, any payments made prior to the acquisition of Title as provided in Section 2 of these Conditions shall not
reduce the Aggregate Amount of Insurance afforded under this endorsement except to the extent that the payments
reduce the Indebtedness.
(c) The voluntary satisfaction or release of the Insured Mortgage shall terminate all liability of the Company under this
policy, except as provided in Section 2 of these Conditions, but it will not reduce the Aggregate Amount of Insurance for the
other policies identified in Section 1 of this endorsement.



This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent



Dated: September 29, 2017                                 By:   Vlefvut Wawa'




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ALTA Endorsement 12-06 (Aggregation) (06/17/2006)                                                                     IL1706750




                                                                                                                                BC570009620
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                                                       ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                  ALTA ENDORSEMENT 17-06 (ACCESS AND ENTRY) (PARCEL 1)
The Company insures against loss or damage sustained by the Insured if, at Date of Policy (i) the Land does not
abut and have both actual vehicular and pedestrian access to and from S. Constance Avenue (the "Street"), (ii) the
Street is not physically open and publicly maintained, or (iii) the Insured has no right to use existing curb cuts or
entries along that portion of the Street abutting the Land.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                 By:




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ALTA Endorsement 17-06 (Access and Entry) (Parcel 1) (06/17/2006)                                                  IL1706750




                                                                                                                              BC570009621
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                                                         ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                           Underwriter Policy No. 72307-212571283

                              ALTA ENDORSEMENT 17.2-06 (UTILITY ACCESS)
The Company insures against loss or damage sustained by the Insured by reason of the lack of a right of access
to the following utilities or services: [CHECK ALL THAT APPLY]

El Water service                             El Natural gas service                        El Telephone service

El Electrical power service                   2 Sanitary sewer                             El Storm water drainage

El n/a

either over, under or upon rights-of-way or easements for the benefit of the Land because of:

(1)       a gap or gore between the boundaries of the Land and the rights-of-way or easements;

(2)       a gap between the boundaries of the rights-of-way or easements; or

(3)       a termination by a grantor, or its successor, of the rights-of-way or easements.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 17.2-06 (Utility Access) (10/16/2008)                                                                  IL1706750




                                                                                                                                   BC570009622
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                                                       ENDORSEMENT
                                                              ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                        ALTA ENDORSEMENT 18.1-06 (MULTIPLE TAX PARCEL)
The Company insures against loss or damage sustained by the Insured by reason of:

1.       those portions of the Land identified below not being assessed for real estate taxes under the listed tax
         identification numbers or those tax identification numbers including any additional land:

         20-25-119-001-0000 (Parcel 1)
         20-25-310-008-0000 and 20-25-310-009-0000 (Affects Parcels 2 and 3)
         21-30-400-034-0000 (Parcel 4)
         31-30-414-040-0000 (Parcel 5)

2.       the easements, if any, described in Schedule A being cut off or disturbed by the nonpayment of real estate
         taxes, assessments or other charges imposed on the servient estate by a governmental authority.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent



Dated: September 29, 2017                                 By:   Vkitiut 7/taizstoi




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ALTA Endorsement 18.1-06 (Multiple Tax Parcel) (06/17/2006)                                                          IL1706750




                                                                                                                                  BC570009623
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 19 of 41 PageID #:54741




                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                           Underwriter Policy No. 72307-212571283

                     ALTA ENDORSEMENT 25-06 (SAME AS SURVEY) (PARCEL 1)
The Company insures against loss or damage sustained by the Insured by reason of the failure of the Land as
described in Schedule A to be the same as that identified on the survey made by WAYLS Survey LTD. dated
September 22, 2017; Order No. 2017-09-76.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 25-06 (Same As Survey) (Parcel 1) (10/16/2008)                                                      IL1706750




                                                                                                                                  BC570009624
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 20 of 41 PageID #:54742




                                                       ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                                       ALTA ENDORSEMENT 27-06 (USURY)
The Company insures against loss or damage sustained by the Insured by reason of the invalidity or
unenforceability of the lien of the Insured Mortgage as security for the Indebtedness because the loan secured by
the Insured Mortgage violates the usury law of the state where the Land is located.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




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ALTA Endorsement 27-06 (Usury) (10/16/2008)                                                                           1L1706750




                                                                                                                                       BC570009625
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 21 of 41 PageID #:54743




                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

       ALTA ENDORSEMENT 28-06 (EASEMENT-DAMAGE OR ENFORCED REMOVAL)
The Company insures against loss or damage sustained by the Insured if the exercise of the granted or reserved
rights to use or maintain the easement(s) referred to in Exception(s) 5, 6, 9 and 10 of Schedule B results in:
(1) damage to an existing building located on the Land, or
(2) enforced removal or alteration of an existing building located on the Land.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




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ALTA Endorsement 28-06 (Easement-Damage Or Enforced Removal) (02/03/2010)                                          IL1706750




                                                                                                                              BC570009626
     Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 22 of 41 PageID #:54744




                                                       ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

     ALTA ENDORSEMENT 9-06 (RESTRICTIONS, ENCROACHMENTS, MINERALS - LOAN
                                   POLICY)
1. The insurance provided by this endorsement is subject to the exclusions in Section 5 of this endorsement; and
   the Exclusions from Coverage, the Exceptions from Coverage contained in Schedule B, and the Conditions in
   the policy.
2. For the purposes of this endorsement only:
      a. "Covenant" means a covenant, condition, limitation or restriction in a document or instrument in effect at
         Date of Policy.
      b. "Improvement" means an improvement, including any lawn, shrubbery, or trees, affixed to either the Land
         or adjoining land at Date of Policy that by law constitutes real property.
3.    The Company insures against loss or damage sustained by the Insured by reason of:
      a. A violation of a Covenant that:
           i.    divests, subordinates, or extinguishes the lien of the Insured Mortgage,
           ii.   results in the invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage, or
           iii. causes a loss of the Insured's Title acquired in satisfaction or partial satisfaction of the Indebtedness;
      b. A violation on the Land at Date of Policy of an enforceable Covenant, unless an exception in Schedule B
         of the policy identifies the violation;
      c.   Enforced removal of an Improvement located on the Land as a result of a violation, at Date of Policy, of a
           building setback line shown on a plat of subdivision recorded or filed in the Public Records, unless an
           exception in Schedule B of the policy identifies the violation; or
      d. A notice of a violation, recorded in the Public Records at Date of Policy, of an enforceable Covenant
         relating to environmental protection describing any part of the Land and referring to that Covenant, but
         only to the extent of the violation of the Covenant referred to in that notice, unless an exception in
         Schedule B of the policy identifies the notice of the violation.
4. The Company insures against loss or damage sustained by reason of:
      a. An encroachment of:
           i.    an Improvement located on the Land, at Date of Policy, onto adjoining land or onto that portion of the
                 Land subject to an easement; or




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ALTA Endorsement 9-06 (Restrictions, Encroachments, Minerals - Loan Policy) (04/02/2012)                                1L1706750




                                                                                                                                      BC570009627
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                                                        ENDORSEMENT
                                          Underwriter Policy No. 72307-212571283
  ALTA ENDORSEMENT 9-06 (RESTRICTIONS, ENCROACHMENTS, MINERALS - LOAN
                                   POLICY)
                                                            (Page 2 of 2)

          ii.   an Improvement located on adjoining land onto the Land at Date of Policy unless an exception in
                Schedule B of the policy identifies the encroachment otherwise insured against in Sections 4.a.i. or
                4.a.ii.,
    b. A final court order or judgment requiring the removal from any land adjoining the Land of an
       encroachment identified in Schedule B; or
     c.   Damage to an Improvement located on the Land, at Date of Policy:
          1.    that is located on or encroaches onto that portion of the Land subject to an easement excepted in
                Schedule B, which damage results from the exercise of the right to maintain the easement for the
                purpose for which it was granted or reserved; or
          ii.   resulting from the future exercise of a right to use the surface of the Land for the extraction or
                development of minerals or any other subsurface substances excepted from the description of the
                Land or excepted in Schedule B.
5. This endorsement does not insure against loss or damage (and the Company will not pay costs, attorneys'
   fees, or expenses) resulting from:
     a. any Covenant contained in an instrument creating a lease;
    b. any Covenant relating to obligations of any type to perform maintenance, repair, or remediation on the
       Land;
    c.    except as provided in Section 3.d, any Covenant relating to environmental protection of any kind or nature,
          including hazardous or toxic matters, conditions, or substances;
    d.    contamination, explosion, fire, flooding, vibration, fracturing, earthquake or subsidence; or
    e. negligence by a person or an Entity exercising a right to extract or develop minerals or other subsurface
       substances.
This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                 By:



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ALTA Endorsement 9-06 (Restrictions, Encroachments, Minerals - Loan Policy) (04/02/2012)                           IL1706750




                                                                                                                              BC570009628
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 24 of 41 PageID #:54746




                                                 ENDORSEMENT
                                                     ISSUED BY

                                     Chicago Title Insurance Company

                                           Attached to File No. IL1706750

                                     Underwriter Policy No. 72307-212571283

                                 ARBITRATION ENDORSEMENT (LOAN)
The provisions of paragraph 13, entitled "Arbitration", of the Conditions of this Policy are hereby deleted from the
Policy.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy or (iv) increase
the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is inconsistent with an
express provision of this endorsement, this endorsement controls. Otherwise, this endorsement is subject to all of
the terms and provisions of the policy and of any prior endorsements.


                                                   Near North National Title LLC, as issuing agent




Dated: September 29, 2017                          By:




Arbitration Endorsement (Loan)                                                                                IL1706750




                                                                                                                      BC570009629
     Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 25 of 41 PageID #:54747




                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

  ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 2 AND 3)
1.       The Company insures against loss or damage sustained by the Insured in the event that, at Date of Policy,

          a.       according to applicable zoning ordinances and amendments, the Land is not classified Zone
                   RT-4;

          b.       the following use or uses are not allowed under that classification:
                   Multi-Unit Residential

         c.        there shall be no liability under paragraph 1.b. if the use or uses are not allowed as the result of
                   any lack of compliance with any conditions, restrictions, or requirements contained in the zoning
                   ordinances and amendments, including but not limited to the failure to secure necessary consents
                   or authorizations as a prerequisite to the use or uses. This paragraph 1.c. does not modify or limit
                   the coverage provided in Covered Risk 5.

2.       The Company further insures against loss or damage sustained by the Insured by reason of a final decree
         of a court of competent jurisdiction either prohibiting the use of the Land, with any existing structure, as
         specified in paragraph 1.b. or requiring the removal or alteration of the structure, because, at Date of
         Policy, the zoning ordinances and amendments have been violated with respect to any of the following
         matters:

         a.        Area, width, or depth of the Land as a building site for the structure

         b.        Floor space area of the structure

         c.        Setback of the structure from the property lines of the Land

          d.       Height of the structure, or

         e.        Number of parking spaces.

3.       There shall be no liability under this endorsement based on:

         a.        the invalidity of the zoning ordinances and amendments until after a final decree of a court of
                   competent jurisdiction adjudicating the invalidity, the effect of which is to prohibit the use or uses;

         b.        the refusal of any person to purchase, lease or lend money on the Title covered by this policy.



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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 2 and 3) (06/17/2006)                                  11_1706750




                                                                                                                                 BC570009630
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 26 of 41 PageID #:54748




                                                        ENDORSEMENT
                                          Underwriter Policy No. 72307-212571283
  ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 2 AND 3)
                                                            (Page 2 of 2)

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 2 and 3) (06/17/2006)                                    1L1706750




                                                                                                                                     BC570009631
     Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 27 of 41 PageID #:54749




                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

        ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 4)
1.       The Company insures against loss or damage sustained by the Insured in the event that, at Date of Policy,

          a.       according to applicable zoning ordinances and amendments, the Land is not classified Zone
                   RT-4;

          b.       the following use or uses are not allowed under that classification:
                   Multi-Family Residential

         c.        there shall be no liability under paragraph 1.b. if the use or uses are not allowed as the result of
                   any lack of compliance with any conditions, restrictions, or requirements contained in the zoning
                   ordinances and amendments, including but not limited to the failure to secure necessary consents
                   or authorizations as a prerequisite to the use or uses. This paragraph 1.c. does not modify or limit
                   the coverage provided in Covered Risk 5.

2.       The Company further insures against loss or damage sustained by the Insured by reason of a final decree
         of a court of competent jurisdiction either prohibiting the use of the Land, with any existing structure, as
         specified in paragraph 1.b. or requiring the removal or alteration of the structure, because, at Date of
         Policy, the zoning ordinances and amendments have been violated with respect to any of the following
         matters:

         a.        Area, width, or depth of the Land as a building site for the structure

         b.        Floor space area of the structure

         c.        Setback of the structure from the property lines of the Land

         d.        Height of the structure, or

         e.        Number of parking spaces.

3.       There shall be no liability under this endorsement based on:

         a.        the invalidity of the zoning ordinances and amendments until after a final decree of a court of
                   competent jurisdiction adjudicating the invalidity, the effect of which is to prohibit the use or uses;

         b.        the refusal of any person to purchase, lease or lend money on the Title covered by this policy.




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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 4) (06/17/2006)                                       IL1706750




                                                                                                                            BC570009632
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 28 of 41 PageID #:54750




                                                        ENDORSEMENT
                                           Underwriter Policy No. 72307-212571283
       ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 4)
                                                            (Page 2 of 2)

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 4) (06/17/2006)                                       1L1706750




                                                                                                                              BC570009633
     Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 29 of 41 PageID #:54751




                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. 1L1706750

                                           Underwriter Policy No. 72307-212571283

        ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 5)
          The Company insures against loss or damage sustained by the Insured in the event that, at Date of Policy,

          a.       according to applicable zoning ordinances and amendments, the Land is not classified Zone
                   RM-5;

          b.       the following use or uses are not allowed under that classification:
                   Multi-Unit Residential

          c.       there shall be no liability under paragraph 1.b. if the use or uses are not allowed as the result of
                   any lack of compliance with any conditions, restrictions, or requirements contained in the zoning
                   ordinances and amendments, including but not limited to the failure to secure necessary consents
                   or authorizations as a prerequisite to the use or uses. This paragraph 1.c. does not modify or limit
                   the coverage provided in Covered Risk 5.

         The Company further insures against loss or damage sustained by the Insured by reason of a final decree
         of a court of competent jurisdiction either prohibiting the use of the Land, with any existing structure, as
         specified in paragraph 1.b. or requiring the removal or alteration of the structure, because, at Date of
         Policy, the zoning ordinances and amendments have been violated with respect to any of the following
         matters:

         a.        Area, width, or depth of the Land as a building site for the structure

         b.        Floor space area of the structure

         c.        Setback of the structure from the property lines of the Land

          d.       Height of the structure, or

         e.        Number of parking spaces.

3.       There shall be no liability under this endorsement based on:

         a.        the invalidity of the zoning ordinances and amendments until after a final decree of a court of
                   competent jurisdiction adjudicating the invalidity, the effect of which is to prohibit the use or uses;

         b.        the refusal of any person to purchase, lease or lend money on the Title covered by this policy.




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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 5) (06/17/2006)                                       IL1706750




                                                                                                                              BC570009634
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                                                        ENDORSEMENT
                        Underwriter Policy No. 72307-212571283
       ALTA ENDORSEMENT 3.1-06 (ZONING-COMPLETED STRUCTURE) (PARCEL 5)
                                     (Page 2 of 2)

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 3.1-06 (Zoning-Completed Structure) (Parcel 5) (06/17/2006)                                         IL1706750




                                                                                                                                   BC570009635
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 31 of 41 PageID #:54753




                                                       ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                    ALTA ENDORSEMENT 25-06 (SAME AS SURVEY) (PARCEL 2)
The Company insures against loss or damage sustained by the Insured by reason of the failure of the Land as
described in Schedule A to be the same as that identified on the survey made by WAYLS Survey, LTD. dated
October 29, 2015; Order No. 2015-10-84.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                 By:




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ALTA Endorsement 25-06 (Same As Survey) (Parcel 2) (10/16/2008)                                                    IL1706750




                                                                                                                              BC570009636
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 32 of 41 PageID #:54754




                                                       ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                  ALTA ENDORSEMENT 17-06 (ACCESS AND ENTRY) (PARCEL 2)
The Company insures against loss or damage sustained by the Insured if, at Date of Policy (i) the Land does not
abut and have both actual vehicular and pedestrian access to and from S. East End Avenue (the "Street"), (ii) the
Street is not physically open and publicly maintained, or (iii) the Insured has no right to use existing curb cuts or
entries along that portion of the Street abutting the Land.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                 By:




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ALTA Endorsement 17-06 (Access and Entry) (Parcel 2) (06/17/2006)                                                   IL1706750




                                                                                                                               BC570009637
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                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                     ALTA ENDORSEMENT 25-06 (SAME AS SURVEY) (PARCEL 3)
The Company insures against loss or damage sustained by the Insured by reason of the failure of the Land as
described in Schedule A to be the same as that identified on the survey made by WAYLS Survey, LTD. dated
October 29, 2015; Order No. 2015-10-85.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 25-06 (Same As Survey) (Parcel 3) (10/16/2008)                                                    1L1706750




                                                                                                                              BC570009638
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                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                           Underwriter Policy No. 72307-212571283

                   ALTA ENDORSEMENT 17-06 (ACCESS AND ENTRY) (PARCEL 3)
The Company insures against loss or damage sustained by the Insured if, at Date of Policy (i) the Land does not
abut and have both actual vehicular and pedestrian access to and from S. East End Avenue (the "Street"), (ii) the
Street is not physically open and publicly maintained, or (iii) the Insured has no right to use existing curb cuts or
entries along that portion of the Street abutting the Land.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 17-06 (Access and Entry) (Parcel 3) (06/17/2006)                                                  IL1706750




                                                                                                                              BC570009639
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                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                  Attached to File No. IL1706750

                                           Underwriter Policy No. 72307-212571283

                     ALTA ENDORSEMENT 25-06 (SAME AS SURVEY) (PARCEL 4)
The Company insures against loss or damage sustained by the Insured by reason of the failure of the Land as
described in Schedule A to be the same as that identified on the survey made by WAYLS Survey LTD. Dated
September 22, 2017; Order No. 2017-09-75.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                           Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                  By:




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ALTA Endorsement 25-06 (Same As Survey) (Parcel 4) (10/16/2008)                                                     IL1706750




                                                                                                                                BC570009640
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                                                        ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                  ALTA ENDORSEMENT 17-06 (ACCESS AND ENTRY) (PARCEL 4)
The Company insures against loss or damage sustained by the Insured if, at Date of Policy (i) the Land does not
abut and have both actual vehicular and pedestrian access to and from S. Muskegon Avenue and E. 78th Street
(the "Street"), (ii) the Street is not physically open and publicly maintained, or (iii) the Insured has no right to use
existing curb cuts or entries along that portion of the Street abutting the Land.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                 By:




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ALTA Endorsement 17-06 (Access and Entry) (Parcel 4) (06/17/2006)                                                   IL1706750




                                                                                                                                BC570009641
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                                                       ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                    ALTA ENDORSEMENT 25-06 (SAME AS SURVEY) (PARCEL 5)
The Company insures against loss or damage sustained by the Insured by reason of the failure of the Land as
described in Schedule A to be the same as that identified on the survey made by L.R. Pass & Associates dated
June 20, 2016; Order No. 1606-0795.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                 By:




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ALTA Endorsement 25-06 (Same As Survey) (Parcel 5) (10/16/2008)                                                    IL1706750




                                                                                                                              BC570009642
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 38 of 41 PageID #:54760




                                                       ENDORSEMENT
                                                             ISSUED BY

                                          Chicago Title Insurance Company

                                                 Attached to File No. IL1706750

                                          Underwriter Policy No. 72307-212571283

                  ALTA ENDORSEMENT 17-06 (ACCESS AND ENTRY) (PARCEL 5)
The Company insures against loss or damage sustained by the Insured if, at Date of Policy (i) the Land does not
abut and have both actual vehicular and pedestrian access to and from S. Southshore Drive and Cheltenham
Place (the "Street"), (ii) the Street is not physically open and publicly maintained, or (iii) the Insured has no right to
use existing curb cuts or entries along that portion of the Street abutting the Land.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy, or (iv)
increase the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is
inconsistent with an express provision of this endorsement, this endorsement controls. Otherwise, this
endorsement is subject to all of the terms and provisions of the policy and of any prior endorsements.


                                                          Near North National Title LLC, as issuing agent




Dated: September 29, 2017                                 By:




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ALTA Endorsement 17-06 (Access and Entry) (Parcel 5) (06/17/2006)                                                  IL1706750




                                                                                                                              BC570009643
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                                                      ENDORSEMENT
                                                        ISSUED BY

                                       Chicago Title Insurance Company

                                              Attached to File No. IL1706750

                                        Underwriter Policy No. 72307-212571283

                  INTERIM MECHANICS LIEN ENDORSEMENT A (REVISED 2010)
Interim Mechanic's Lien Endorsement Number: 1


Notwithstanding any covered risks of this policy, the sole mechanics lien coverage provided by this Commitment
or policy is pursuant to this endorsement.

Paragraph 11(a) of the Covered Risks of this policy and any general mechanics lien exception ("any lien or right to
a lien for services, labor or material....") in Schedule B of the Commitment are hereby deleted and replaced with
the following provision:

Subject to the Exclusions from Coverage, Exceptions shown on Schedule B, and the Conditions of this Policy, the
Company hereby insures against loss or damage by reason of the lack of priority of the lien of the Insured
Mortgage over any lien claim by a lien claimant arising under the Illinois Mechanics Lien Act for services, labor, or
material furnished in connection with an improvement on the Land, provided:

1. The lien claimant is:

    A. A contractor named on the sworn owner's (or tenant's) statement dated SEPTEMBER 21, 2017 and
       executed by EQUITY BUILD INC.;

    B. A party disclosed on an affidavit signed by a party named on the aforesaid owners sworn statement;

2. The lien claim relates to that portion of the amount for the liened services, labor or material which is shown as
   either previously paid or as the amount of the current payment payable to or for the benefit of the disclosed
   lien claimant on a statement described at 1A above; and

3. The lien claim relates to labor, material, or services furnished prior to the date shown at 1A above in the
   absence of a sworn contractor's statement above.



                                                       Near North National Title LLC, as issuing agent



Dated: September 29, 2017                              By:   Weary 712aizotoe




Interim Mechanics Lien Endorsement A (Revised 2010)                                                         IL1706750




                                                                                                                   BC570009644
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 40 of 41 PageID #:54762




                                                ENDORSEMENT
                                                     ISSUED BY

                                    Chicago Title Insurance Company

                                           Attached to File No. IL1706750

                                     Underwriter Policy No. 72307-212571283

                                 ENCROACHMENT ENDORSEMENT NO. 1
The Company hereby insures the Insured against loss or damage which the Insured shall sustain by reason of the
following:

    The entry of any court order or judgment which constitutes a final determination and denies the right to
    maintain the existing improvements on the Land because of the encroachment or encroachments thereof
    specifically set forth in Schedule B Exception(s) 5, 6, 9 and 10 onto adjoining property.

This endorsement is issued as part of the policy. Except as it expressly states, it does not (i) modify any of the
terms and provisions of the policy, (ii) modify any prior endorsements, (iii) extend the Date of Policy or (iv) increase
the Amount of Insurance. To the extent a provision of the policy or a previous endorsement is inconsistent with an
express provision of this endorsement, this endorsement controls. Otherwise, this endorsement is subject to all of
the terms and provisions of the policy and of any prior endorsements.



                                                   Near North National Title LLC, as issuing agent




Dated: September 29, 2017                          By:




Encroachment Endorsement No. 1                                                                                 IL1706750




                                                                                                                      BC570009645
  Case: 1:18-cv-05587 Document #: 1147-23 Filed: 01/27/22 Page 41 of 41 PageID #:54763




                                               ENDORSEMENT
                                                   ISSUED BY

                                   Chicago Title Insurance Company

                                          Attached to File No. IL1706750

                                    Underwriter Policy No. 72307-212571283

                              PENDING DISBURSEMENT ENDORSEMENT
Anything in this policy and any endorsement thereto not withstanding, the liability of the Company under said policy
shall not exceed the sum of $5,244,243.93 (being the amount actually disbursed of the proceeds of the loan
secured by the Insured Mortgage at the date of said policy) and costs which the Company is obligated under the
Conditions to pay, but such liability shall be increased by the sum of each subsequent disbursement made under
the Insured Mortgage up to the face amount of the policy; subject, however, with respect to each such increase, to
any defects, liens, encumbrances, adverse claims or other matters which may be disclosed upon an examination
of the title to the estate or interest in the Land subsequent to the preceding examination and down to and including
the date of each disbursement.

This endorsement is made a part of the policy and is subject to all of the terms and provisions thereof and of any
prior endorsements thereto. Except to the extent expressly stated, it neither modifies any of the terms and
provisions of the policy and any prior endorsements, nor does it extend the effective date of the policy and any
prior endorsements, nor does it increase the face amount thereof.


                                                 Near North National Title LLC, as issuing agent




Dated: September 29, 2017                        By:




Pending Disbursement Endorsement                                                                           IL1706750




                                                                                                                  BC570009646
